[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
Before this Court is a motion to dismiss filed by defendants, Fleet National Bank. The plaintiffs filed a memorandum in opposition to which the defendant filed a Reply. The defendant argues that the motion should be granted because the plaintiffs have failed to sufficiently allege aggrievement under the requisite statute, thereby depriving this court of jurisdiction. The defendant also seeks to have the action dismissed as to plaintiff Matthew Corcoran and defendant Deborah Breck, claiming that these two individuals are improper parties. The plaintiff agrees that the appeal should be dismissed as to defendant Deborah Breck, but denies that Matthew Corcoran is an improper party.
In their Motion for Appeal, the plaintiffs allege that: "they are beneficiaries of the Raymond E. Drouin Trust . . . "; that the Cheshire Probate Court allowed the Trustees Final Account and approved the application to terminate the trust; and that the plaintiffs are aggrieved by the order because there was no basis in law for it.
These conclusory statements in the Motion are insufficient to confer jurisdiction upon this court. Therefore, the defendant's motion to dismiss is granted. Because this court finds the allegations in the Motion insufficient, it need not address the improper party argument.
Angela Robinson-Thomas, Judge CT Page 2381